                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 1:14-CV-954

STUDENTS FOR FAIR ADMISSIONS,                 )
INC.,                                         )
                                              )
                             Plaintiff,       )
                                              )   DEFENDANTS’ MOTION TO
v.                                            )   DISMISS PURSUANT TO FRCP
                                              )   12(b)(1)
THE UNIVERSITY OF NORTH                       )
CAROLINA AT CHAPEL HILL, et al.,              )   ORAL ARGUMENT REQUESTED
                                              )
                             Defendants.      )
                                              )
                                              )


       Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, Defendants

respectfully move to dismiss this action for lack of subject matter jurisdiction.

            1. Plaintiff Students for Fair Admissions brought suit against Defendants as an

organizational plaintiff asserting representational standing. To do so, SFFA bears the

threshold burden of proving that it is eligible for representational standing.

            2. As explained in detail in Defendants’ supporting memorandum of law,

SFFA fails to meet this prerequisite because, as facts elicited through discovery

demonstrate, its members lack the indicia of membership in an organization.

       WHEREFORE, Defendants respectfully request that the Court:

       1.      Grant Defendants’ Motion to Dismiss;

       2.      Enter judgment for Defendants; and

       3.      Grant Defendants such other relief as may be appropriate.




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      Defendants also respectfully request the opportunity to present oral argument on

this Motion.



      Respectfully submitted this 25th day of October, 2017.

                                          JOSH STEIN
                                          Attorney General

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                            CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing Defendants’ Motion to Dismiss

Pursuant to FRCP 12(b)(1) via the Court’s electronic filing systems, pursuant to the

Electronic Filing Procedures, on all attorneys of record who have entered an appearance

by ECF in this matter.

      This 25th day of October, 2017.

                                                       /s/ Michael Scudder
                                                       Michael Scudder




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